                             STATE OF WISCONSIN
                    FOR THE EASTERN DISTRICT OF WISCONSIN

DONALD J. TRUMP,

              Plaintiff,

Vs.                                                      CASE NO. 20-CV-1785-BHL

WISCONSIN ELECTIONS COMMISSION, et al.,

              Defendants.

                           MOTION TO WITHDRAW AS ATTORNEY

       Attorney Daniel S. Lenz hereby moves this Honorable Court for an order permitting Mr.

Lenz to withdraw as attorney for Defendants Mayor Cory Mason, Tara Coolidge, Mayor John

Antaramian, Matt Krauter, Mayor Eric Genrich and Kris Teske, in the above-captioned matter.

These defendants will continue to be represented by Dixon R. Gahnz, Daniel P. Bach and Terry

M. Polich of Lawton & Cates, S.C.



       Dated: October 25, 2021

                                           Electronically signed by Daniel S. Lenz
                                           Daniel S. Lenz, SBN: 1082058
                                           345 W. Washington Avenue, Suite 201
                                           P.O. Box 2965
                                           Madison, WI 53701-2965
                                           Phone: (608) 282-6200
                                           Fax: (608) 282-6252
                                           dlenz@lawtoncates.com




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